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Attorneys for Defendant
BMW of North America, LLC

                          UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY


 THOMAS ISLEY, JEFFERY QUINN, VIPUL               Case No. 2:19-cv-12680-ES-MAH
 KHANNA, WALINGTON URENA, DANIEL
 GULICK, and MICHAEL HENCHY JR, on                  STIPULATION AND PROPOSED
 behalf of themselves and the putative class,        ORDER EXTENDING BMW OF
                                                   NORTH AMERICA, LLC’S TIME TO
                            Plaintiff,              RESPOND TO FIRST AMENDED
                   v.                                CLASS ACTION COMPLAINT

 BMW OF NORTH AMERICA, LLC and
 BAVARIAN MOTOR WORKS AG,

                         Defendants.


       Whereas, pursuant to the Court’s August 2, 2019 Order (D.E. 8) setting the briefing

schedule in this matter, BMW of North America’s (“BMW NA”) Motion to Dismiss is due on or

before August 23, 2019

       Whereas, counsel for BMW NA and counsel for Plaintiffs Thomas Isley, Jeffery Quinn,

Vipul Khanna, Walington Urena, Daniel Gulick, and Michael Henchy, Jr., have conferred

regarding a brief extension of BMW NA’s time to file its motion to dismiss:

       Now, therefore, it is hereby stipulated and agreed, by and between the undersigned

counsel, as follows:
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       1.      BMW NA will file its Motion to Dismiss on or before August 26, 2019;

       2.      Plaintiffs will respond to the Motion to Dismiss on or before September 23, 2019;

       3.      BMW NA will reply in further support of its Motion to Dismiss on or before

               October 7, 2019



/s/ Frederick J. Klorczyk III                      /s/ Melissa J. Bayly
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Attorneys for Plaintiffs
                                                   Attorneys for Defendant
                                                   BMW of North America, LLC
Dated: August 23, 2019

                                                   Dated: August 23, 2019



                                           ORDER


       The above application is GRANTED on this ___ day of _____, 2019.

       1.      BMW NA will file its Motion to Dismiss on or before August 26, 2019.


                                            ________________________________________
                                            Hon. Esther Salas, U.S.D.J.
                                            Hon. Michael A. Hammer, U.S.M.J.




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